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Cibik & Cataldo, P.C.
1500 Walnut Street, Suite 900
Philadelphia, PA 19102
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Phone: (215) 735-1060
Bar Number:

                                             UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF PENNSYLVANIA
                                                   PHILADELPHIA DIVISION
                                                                            §
 IN RE: LaKeisha N. Gadson                                                                           CASE NO       17-10325ELF13
                                                                            §
        xxx-xx-3503
                                                                            §
                                                                                                     CHAPTER       13
                                                                            §
                                                                            §
                        Debtor(s)

                                                            CHAPTER 13 PLAN

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE OF SAID COURT:
         COMES NOW, LaKeisha N. Gadson, Debtor herein, and proposes the following plan under Chapter 13 of the Bankruptcy Code:



1.   The debts of DEBTOR(S) duly proved and allowed shall be paid to the holder thereof in accordance with the provisions of Chapter 13 of the
     Bankruptcy Code and this Plan.

2.   The future earnings of DEBTOR(S) are submitted to the supervision and control of this Court, and DEBTOR(S) shall pay to the TRUSTEE
     a sum of ____________________
                           $300.00     on the ________
                                               30th    day of each month commencing on ___________________________ and continuing on the
     ___________
      30th         day of each and every succeeding month thereafter for a full term (duration) of this plan. This plan shall be for ______________.
                                                                                                                                        60 months

3.   From the payments received, the TRUSTEE will make disbursements in the following order:
     (a). Administrative Expenses:       The TRUSTEE shall FIRST pay the expenses as prescribed by the Court, for administration of this plan.

                                                                                                                      Monthly
 Name of Creditor                               Type                                 Amount     Interest Rate        Payment          Term         Total Paid

Cibik & Cataldo, P.C.                           Attorney Fees                      $3,000.00              0%       First Funds                      $3,000.00

     (b). Priority Claims:     All Claims entitled to priority under Section 507 of the Bankruptcy Code will be paid as follows:

                                                                            Amount Entitled                           Monthly
 Name of Creditor                                      Claim Amount               To Priority   Interest Rate        Payment          Term         Total Paid


     (c). Secured Claims: Secured creditors, whose claims are duly and timely filed, approved and allowed will be treated as follows:
          (1). Valuation of Collateral: The Creditors listed below have a claim secured by a lien on the collateral shown and the claim of each
               creditor is secured to the extent of the fair market value of such property. The value of such creditor's interest in such collateral is
               as set forth hereinbelow and such fair market value set hereinbelow is binding as to each such creditor. Pursuant to the Bankruptcy
               Code, the Debtor(s) ask the Court to value the collateral shown as indicated below and to determine what portion, if any, of the
               following claim or claims are secured and what portions are unsecured. The purpose of this plan provision and valuation is to
               clearly provide that once Debtor(s) have paid such fair market value through the TRUSTEE, the lien of each such secured creditor
               shall be deemed invalid and, at such time, each creditor shall immediately execute and deliver any and all necessary documents to
               effectuate release of such lien and delivery of an unencumbered title to the Debtor(s).

                Name of Creditor                                            Collateral Description                                        Fair Market Value

               Each secured creditor described herein shall retain the lien existing prior to the commencement of the case only to the extent of the
               value of the collateral and to secure payment of the allowed amount of its claim. In the case of each secured creditor listed in this
               section, the allowed amount is the fair market value set forth herein. Once the allowed secured amount has been satisfied through
               the Plan, the creditor's lien will have been satisfied in full and the lien will no longer exist. Upon payment of the secured portion of
               a creditor's claim, the creditor shall immediately release its lien and deliver clear title to the Debtor(s).



* Variable payments are scheduled, please see Pro Forma, if attached.
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          (2). Payment of Secured Claims:         Secured creditors, whose claims are duly and timely filed, approved and allowed, will be paid as follows:


 Name of Creditor                                    Amount Claimed            Principal Amt                           Monthly
 Collateral                                          Value of Collat.              to Be Paid   Interest Rate         Payment         Term            Total Paid

 City Of Philadelphia                                           $600.00                $0.00             0%           Pro-Rata        None                  $0.00
                                                                  $0.00
 Pa Housing Finance Age                                     $10,200.00            $10,200.00             0%           Pro-Rata        1-49           $10,200.00
 2553 S. 67th Street                                       $102,000.00

          (3). Void Lien: The secured creditors listed below hold a non-purchase money, non-possessory security interest on Debtor(s) exempt
                          property. Their lien will be voided pursuant to 11 U.S.C. § 522(f) and their claim treated as unsecured and paid pursuant
                          to paragraph (e) below:
                Name of Creditor                                            Collateral Description                                            Amount of Claim

     (d). Special Class:     The following specially classified claims shall be paid as follows:

                                                                              Principal Amt.                           Monthly
 Name of Creditor                                      Claim Amount               To Be Paid    Interest Rate         Payment         Term           Total Paid


     (e). Unsecured Claims: Unsecured claims will be paid pro rata by the TRUSTEE after payment of the aforementioned categories, to creditors
          who have duly and timely filed and proved their claim, with the same having been allowed by the Court, with such payments or dividends
          to be paid in lieu of the debt and in satisfaction of the debts of such creditors.

     (f). No interest, penalty or additional charge shall be allowed on any account subsequent to the filing of the petition herein, except that interest
          shall be allowed on claims to fully secured creditors in accordance with 11 U.S.C. § 506(b).

4.   DEBTOR(S) shall pay direct the following debts outside the Plan:
      Name of Creditor                                      Collateral Description                                     Monthly Amount                  Balance
        Pa Housing Finance Age                              2553 S. 67th Street                                                  $515.00            $90,000.00
5.   The following secured claims are not dealt with in the DEBTOR(S)' plan, therefore, upon confirmation of the DEBTOR(S)' Chapter 13 Plan, the
     automatic stay provisions of 11 U.S.C. § 362 will be terminated and annulled with respect to each of the following claims:


      Name of Creditor                                   Collateral Description                                    Claim              Value          Deficiency
     The automatic stay provisions of 11 U.S.C. Sec. 362 remain in effect as to DEBTOR(S).
     The remaining portion of the debt (deficiency), if any, shall be treated as any other general unsecured claim under this plan.
6.   All executory contracts of the DEBTOR(S) will be assumed unless specifically rejected herein. The following executory contracts and/or leases
     are ASSUMED or REJECTED as indicated below:
      Name of Creditor                                                                                          Contract is Assumed/Rejected

7.   Upon confirmation of this plan, title of the property of the estate shall vest in DEBTOR(S).

8.   The Court may, from time to time, during the period of the plan, extend, increase or reduce the amount of any of the installments provided for by
     the plan, or extend or shorten the time for any such payments where it shall be made to appear, after such hearing, upon such notice as the Court
     may designate, that the circumstances of DEBTOR(S) so warrant or so require; provided, however, that nothing in this plan shall be construed to
     prevent the granting of a discharge of DEBTOR(S) as provided in 11 U.S.C. § 1328.

9.   Post-Confirmation Cure or Waiver of Default:
     Any default of the DEBTOR'S post-confirmation plan payments may only be WAIVED by compliance with the provisions of 11 U.S.C. §
     1329. Any default of post-confirmation plan payments may only be CURED by permission of the Standing Chapter 13 Trustee and compliance
     with such conditions as the TRUSTEE may impose.




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 10. Post-Petition Claims:
     The DEBTOR(S) will not incur any post-petition consumer debt except after notice to creditors and approval by the Court or the Standing
     Chapter 13 Trustee. Post-petition claims will be allowed only as specified in 11 U.S.C. § 1305.




                                                    Additional Provisions of the Plan

1. Unsecured Priorty Tax Claims Treatment in Plan
The unsecured priority claims of all taxing authorities provided for under the plan shall be paid pro-rata in full by the Chapter 13
Trustee before disbursement to the mortgagors, or other secured creditors.


13. Non Exempt Assets
Any non exempt proceeds will be paid to the trustee for the benefit of general unsecured creditors


3.Priority Claim
B.(2) Attorney Fees


2. Attorney Fees in the Plan
Fee Application Hourly Rate of $350 per Attorney and Hourly Rate of $90 per Paralegal as Provided in the Rule 2016(b) Statement



                   31st
DATED on this the ____________day      January
                                  of _________________________,  2017
                                                                ________.

                                                                                      /s/ LaKeisha N. Gadson
                                                                                     Debtor:   LaKeisha N. Gadson

Cibik & Cataldo, P.C.


 /s/ Michael A. Cibik, Esquire
Michael A. Cibik, Esquire
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                           IN THE UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF PENNSYLVANIA
                                     PHILADELPHIA DIVISION

 IN RE:                                            §                                                                  FOR CLERK'S USE ONLY
  (H) LaKeisha N. Gadson                           §     CASE NO: 17-10325ELF13
      xxx-xx-3503                                  §
 (W)                                               §
                                                   §
               Debtor(s)                           §



               CHAPTER 13 PLAN SUMMARY (EXHIBIT "A")                                                           DATED:________________.
                                                                                                                      11/18/2016
Petition was filed on________________.
                        1/17/2017

H&W Monthly Take Home Pay: __________________
                                   $4,316.00  Expenses: __________________
                                                                  $4,016.00                                    Surplus: __________________
                                                                                                                                 $300.00
First payment due by:___________________.
PLAN PAYMENT:            Debtor(s) to pay_______________per
                                                 $300.00    month for_____________
                                                                         60 months for a total of_________________________.
                                                                                                                 $18,000.00
ADMINISTRATIVE: Total debtor's attorney fees of_________________
                                                      $4,000.00 with ________________
                                                                           $3,000.00 through the plan.



HOME MORTGAGE:
Regular mortgage payments on all liens to be "Direct" by Debtor beginning_____________________.
Arrearages are to be paid by the Trustee as follows:

                                                       Total        Through                                                             Periodic Payment
 Lien Holder                                       Arrearage       MM/DD/YY        Interest Rate Payment Term          # of Payments              Amount
 Pa Housing Finance Age                        $10,200.00                                     0%               1-49            49              Pro-Rata

SECURED CREDITORS:

                                  Description of                           Scheduled         Value of Annual                            Periodic Payment
 Name                             Collateral                                 Amount         Collateral Int. Rate        Term                      Amount
 City Of Philadelphia                                                         $600.00        $0.00             0%       None                   Pro-Rata
 Pa Housing Finance Age           2553 S. 67th Street                      $90,000.00   $36,000.00             0%        N/A             $515.00 (Direct)

EXECUTORY CONTRACTS AND UNEXPIRED LEASES:


 Creditor Name                        Description of Contract                                                                Election           In Default
 (None)

PRIORITY CREDITORS:

                                                                 Amount        Scheduled             Annual                             Periodic Payment
 Name                                                           Disputed         Amount            Int. Rate          Term                        Amount
 Cibik & Cataldo, P.C.                                             $0.00        $3,000.00              0%                                    First Funds

SPECIAL CLASS UNSECURED CREDITORS:

                                                                               Scheduled             Annual                             Periodic Payment
 Name                                  Basis for Classification                  Amount            Int. Rate          Term                        Amount




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GENERAL UNSECURED CREDITORS:                       Pay approximately _____________.
                                                                      100%

 Name                                                            Disputed Contingent   Note                                   Amount
 City Of Philadelphia                                                                  Deficiency                              $600.00
 Consumer Portfolio Svc                                                                                                        $346.00
 Eastern Revenue Inc                                                                                                           $393.00
 EdFinancial Services, Llc                                                                                                   $1,137.00
 Fingerhut                                                                                                                     $491.00
 KML Law Group                                                                                                                   $0.00

                                                                                   Total Unsecured Debt --->             $2,967.00


                                                Additional Provisions of the Plan

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 (b) Statement




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                                                  CERTIFICATE OF SERVICE

   I, the undersigned, hereby certify that a copy of the foregoing CHAPTER 13 PLAN SUMMARY was served upon the following
   parties of interest:




   and all parties and creditors listed on the attached matrix.
          1/31/2017
   DATED:_________________________________
                                                                      /s/ Michael A. Cibik, Esquire
                                                                     Michael A. Cibik, Esquire




* Variable Payments Scheduled. See Pro Forma, if attached.
